                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

       v.                                                 Case No. 98-CR-104

ANDREW ACOSTA,
             Defendant.


                                             ORDER

       On September 25, 2006, I re-sentenced defendant Andrew Acosta to life in prison after

his sentence was remanded in light of United States v. Booker, 543 U.S. 220 (2005). In the

judgment, I indicated that the sentence was not to run concurrently with a state sentence out

of Ozaukee County, Wisconsin. Defendant now moves pursuant to Fed. R. Crim. P. 36 to

correct the judgment to eliminate the reference to the sentence not running concurrently.

       Rule 36 allows the court, at any time, to correct clerical errors in judgments. This

includes the ability to clarify a judgment which does not clearly reflect the intent of the court in

pronouncing sentence. See United States v. Niemiec, 689 F.2d 688, 692 (7th Cir. 1982).

During the instant sentencing, I originally stated that the sentence was not to run concurrently

with the state sentence. I did so in order to address defendant’s concern that he might be

transferred from federal to state custody, which he wanted to avoid, not because I believed a

consecutive sentence was necessary. However, defense counsel then requested that I not so

order, and I agreed. (Sept. 25, 2006 Sen. Tr. at 37.) Nevertheless, the judgment reflected my

original statement that the sentence not run concurrently. The government does not oppose

correcting the judgment to reflect my revised pronouncement on the concurrent/consecutive



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issue.

         THEREFORE, IT IS ORDERED that the judgment be amended to state that the instant

sentence “run concurrently with the sentence in Ozaukee County Case No. 00-CF-169.”1

         Dated at Milwaukee, Wisconsin this 22nd day of May, 2007.

                                                 /s Lynn Adelman
                                                 _______________________
                                                 LYNN ADELMAN
                                                 District Judge




         1
        Defendant’s sentence is currently on appeal, which generally divests me of jurisdiction
over the case. However, I retain jurisdiction to correct clerical errors pursuant to Rule 36. See
United States v. McGee, 981 F.2d 271, 273 (7th Cir. 1992), abrogated on other grounds by
Johnson v. United States, 529 U.S. 694 (2000). In any event, this correction does not affect
the substance of the federal sentence.


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